Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 1 of 9 PageID 24




            IN THE UNITED STATES DISTRICT COURT
    FOR THE MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

  JOSEPH LEBLANC and
  FLORENCE LEBLANC,

             Plaintiffs,

  vs.                          CASE NO.: 8:07-cv-943-T-26MAP

  NCO FINANCIAL SYSTEMS, INC.;
  FINANCIAL RECOVERY SERVICES,
  INC.; “JONATHAN JACOBS”;
  "CLARISSA QUINERLY"; "ROBIN
  ROBINSON"; "RICHARD JOYNER";
  "KEVIN SAVAGE"; "SEAN JONES";
  "ANDRE BODY"; "TRAVIS RAEBURN";
  "HOWARD BOLIVA"; "MS. BAXTER";
  and ONE OR MORE “JOHN OR JANE SMITHS”,

             Defendants.
                                      /

         AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
            (Unlawful Debt Collection Practices)

                        PART I: INTRODUCTION

        1. This is an action for damages brought by

  individual consumers for violations of the federal

  Fair Debt Collection Practices Act, 15 U.S.C. § 1692

  ("FDCPA") which prohibits debt collectors from

  engaging in abusive, deceptive and unfair practices

  in the collection of consumer debts; and the Florida

                              Page 1 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 2 of 9 PageID 25




  Consumer Collection Practices Act, Chap. 559, Florida

  Statutes ("FCCPA"), which prohibits all persons from

  engaging in abusive, deceptive and unfair practices

  in the collection of consumer debts.

       2. The debt sought to be collected by the

  defendants herein was a consumer debt within the

  meaning of the FDCPA and the FCCPA.

       3. The plaintiffs have retained the below-signed

  attorneys and are obligated to pay them a reasonable

  fee for their services.

                 PART II: JURISDICTION AND VENUE

       4. Jurisdiction of this court arises under 15

  U.S.C. § 1692k(d) and 28 U.S.C., § 1337; supplemental

  jurisdiction exists for state law claims pursuant to

  28 U.S.C. § 1367. Declaratory relief is available

  pursuant to 28 U.S.C. § 2201 and § 2202.

       5. Venue in this District is proper in that the

  defendants transact business here and the conduct

  complained of occurred here.

                          PART III: PARTIES

                              Page 2 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 3 of 9 PageID 26




       6. Plaintiffs Joseph LeBlanc and Florence LeBlanc

  are natural persons residing in Hillsborough County,

  Florida, which is in the Middle District of Florida,

  Tampa Division.

       7. The defendants herein are as follow:

             a. NCO Financial Systems, Inc. is a

  corporation formed under the laws of the state of

  Pennsylvania, with its headquarters being located in

  Horsham, Pennsylvania.

             b. Financial Recovery Services, Inc. is a

  corporation formed under the laws of the state of

  Minnesota, with its headquarters being located in

  Edina, Minnesota.

             c. “Jonathan Jacobs” is believed to be a

  natural person who at all times material hereto acted

  as an agent or representative of Financial Recovery

  Services, Inc. It is unknown at this point where this

  person resides or whether this is a true person's

  name or a false "desk name."

             d. "Clarissa Quinerly" is believed to be a

                              Page 3 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 4 of 9 PageID 27




  natural person who at all times material hereto acted

  as an agent or representative of NCO Financial

  Systems, Inc. It is unknown at this point where this

  person resides or whether this is a true person's

  name or a false "desk name."

             e. “Robin Robinson” is believed to be a

  natural person who at all times material hereto acted

  as an agent or representative of NCO Financial

  Systems, Inc. It is unknown at this point where this

  person resides or whether this is a true person's

  name or a false "desk name."

             f. “Richard Joyner” is believed to be a

  natural person who at all times material hereto acted

  as an agent or representative of NCO Financial

  Systems, Inc. It is unknown at this point where this

  person resides or whether this is a true person's

  name or a false "desk name."

             g. “Kevin Savage” is believed to be a natural

  person who at all times material hereto acted as an

  agent or representative of NCO Financial Systems,

                              Page 4 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 5 of 9 PageID 28




  Inc. It is unknown at this point where this person

  resides or whether this is a true person's name or a

  false "desk name."

             h. “Sean Jones” is believed to be a natural

  person who at all times material hereto acted as an

  agent or representative of NCO Financial Systems,

  Inc. It is unknown at this point where this person

  resides or whether this is a true person's name or a

  false "desk name."

             i. “Andre Body” is believed to be a natural

  person who at all times material hereto acted as an

  agent or representative of NCO Financial Systems,

  Inc. It is unknown at this point where this person

  resides or whether this is a true person's name or a

  false "desk name."

             j. “Travis Raeburn” is believed to be a

  natural person who at all times material hereto acted

  as an agent or representative of NCO Financial

  Systems, Inc. It is unknown at this point where this

  person resides or whether this is a true person's

                              Page 5 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 6 of 9 PageID 29




  name or a false "desk name."

             k. “Ms. Baxter” is believed to be a natural

  person who at all times material hereto acted as an

  agent or representative of NCO Financial Systems,

  Inc. It is unknown at this point where this person

  resides or whether this is a true person's name or a

  false "desk name."

             l. Defendants "one or more John or Jane

  Smiths" are employees or agents of defendant NCO

  Financial Systems, Inc., whose true names are unknown

  at this time, but are expected to be identified and

  added as parties defendant as discovery proceeds.

       8. All defendants are "debt collectors" as

  defined by the FDCPA at 15 U.S.C., Section 1692a(6).

  All defendants are subject to the provisions of the

  FCCPA.

                   PART IV: FACTUAL ALLEGATIONS

       9. The plaintiffs have been the objects of

  consumer debt collection activity by the defendants,

  which activity occurred within one year prior to the

                              Page 6 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 7 of 9 PageID 30




  date of filing this action.

       10. In the course of the above-said consumer debt

  collection activity, the defendants engaged in or

  committed one or more acts or omissions in violation

  of one or more provisions of both the FDCPA and the

  FCCPA.

            COUNT I: CLAIM FOR VIOLATIONS OF FDCPA

       11. Plaintiffs reallege and incorporate herein by

  reference the paragraphs contained in Parts I, II,

  III, and IV above.

       12. As a result of violating the FDCPA, all

  defendants are liable to the plaintiffs for statutory

  damages of $1,000.00 per defendant, together with

  actual damages, costs, and attorneys fees, all as

  provided in 15 U.S.C. § 1692k.

           COUNT II: CLAIM FOR VIOLATIONS OF FCCPA

       13. Plaintiff realleges and incorporates herein

  by reference the paragraphs contained in Parts I, II,

  III, and IV above.

       14. As a result of violating the FCCPA, all

                              Page 7 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 8 of 9 PageID 31




  defendants are liable to the plaintiffs for statutory

  damages of $1,000.00 per defendant, together with

  actual damages, costs, and attorneys fees, all as

  provided at § 559.77, Florida Statutes.

       15. The FCCPA, at § 559.77(2), Fla. Stat.,

  provides for the imposition of punitive damages

  against offending parties within the discretion of

  the Court, and such damages may be claimed by the

  plaintiff now. Cohen v. Office Depot, 184 F.3d 1292

  (11th Cir. 1999); reaffirmed, Cohen v. Office Depot,

  204 F.3d 1069 (11th Cir. 2000). The plaintiffs

  accordingly request that the Court exercise such

  discretion and impose punitive damages on the

  defendants herein upon the showing of abuse and

  harassment of the plaintiffs through various

  violations of both the FDCPA and the FCCPA.

       WHEREFORE, plaintiffs demand judgment against the

  defendants, as indicated above, for the following:

             a. Actual and statutory damages pursuant to

  15 U.S.C. § 1692(k);

                              Page 8 of      9
Case 8:07-cv-00943-RAL-MAP Document 4 Filed 06/14/07 Page 9 of 9 PageID 32




             b. Actual and statutory damages pursuant to §

  559.77, Fla. Stat.;

             c. Punitive damages pursuant to § 559.77(2);

             d. Costs and attorneys' fees pursuant to both

  15 U.S.C. § 1692 and § 559.77(2), Fla. Stat.;

             e. Such other and further relief as the Court

  may deem to be just and proper.

             f. Plaintiffs demand trial by jury in this

  action.

                   s/ Timothy Condon
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                              Page 9 of      9
